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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,                )       Case No.: 8:12CB5
                                         )
                    Plaintiff,           ) Violation Notice No.: A2327983 NE2
                                         )
      vs.                                )                ORDER
                                         )
JAMES A. WHITE,                          )
                                         )
                     Defendant.          )

      The defendant has submitted correspondence to the Central Violations Bureau

requesting additional time to pay the collateral amount of $125.00. The request will be

granted.

      IT IS ORDERED:

      The arrest warrant issued for James A. White is recalled. The defendant is granted

an extension of time until July 31, 2012, in which to pay the collateral amount due of

$125.00. The full collateral amount is payable in full by that date or the defendant must

appear for hearing before the undersigned magistrate judge on July 31, 2012 at 9:00 a.m.

in Courtroom No. 7, Second Floor, Roman L. Hruska United States Courthouse, 111 South

18th Plaza, Omaha, Nebraska. The clerk will mail a copy of this order to James A. White

at his address of 53232 894 Road, Niobrara, Nebraska 68760.

      DATED this 29th day of June, 2012.


                                               BY THE COURT:


                                               s/ Thomas D. Thalken
                                               United States Magistrate Judge
